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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                  PLAINTIFF

V.                       CASE NUMBER: 4:11-CV-00818-JMM


DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL
CAPACITY; DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH
SCHOOL INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY; GROVER
GARRISON, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY; SHERMAN COX, ATHLETIC
DIRECTOR, MAUMELLE HIGH SCHOOL, INDIVIDUALLY NAMED
AND OFFICIAL CAPACITY                        DEFENDANTS

RENEWED MOTION FOR EXTENSION OF TIME AND TO AMEND THE
    SCHEDULING ORDER AND OTHER PENDING MATTERS

      Comes now the Plaintiff and renews her motion to move the court for an

extension of time and to amend the Scheduling Order and as the basis for said

motion states:


      1. The Scheduling Order entered by this Court mandates that certain


discovery be completed by February 7, 2014.


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       2. The undersigned has undertaken in good faith to schedule discovery so as


to comply with said deadline.


       3. On the other hand, the defendants have made a concerted efforts to resist

and delay discovery.

       4. Discovery is appropriate and necessary in this matter in order that this

court have information in order to rule on anticipated motions that will be filed by

the defendants.

       5. Unless the discovery deadlines are amended and unless the defendants

are directed to make themselves available in a timely matter, the plaintiff will

likely be unable to develop her case as contemplated under the Fed. Rules of Civil

Procedure.


       6. This motion is not made for the purpose of delay but is in the best interest

of justice.

       7. That the Plaintiff has attached hereto a memorandum in support of this

motion.


       8.       The defendants continue to resist discovery which is quintessential to

the prosecution of this matter and discovery of information necessary to resist any

impending motions contemplated by the defendants.



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      9. The defendants disregard of the Rules regarding discovery and this

Court’s deadline renders it almost impossible for the Plaintiffs to pursue their

cause of action. This disregard by the defendants is consistent with the

demonstrated past behavior of the defendants to frustrate any and all legitimate

efforts of the Plaintiff to pursue their claims as contemplated by the Eighth Circuit

Court of Appeals decision.


      WHEREFORE the Plaintiff prays that the Motion be granted and asks that

this Court impose appropriate sanctions and for all other proper and just relief.


                                              Respectfully submitted,


                                              /s/Teresa Bloodman
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                        CERTIFICATE OF SERVICE


I, Teresa Bloodman, hereby certify that on this13th day of February 2014, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
System, which will send notification of such filing to all CM/ECF participating
counsel of record listed below; and I further certify that I have mailed the
document, via U.S. Mail, postage prepaid, to all non CM/ECF participants listed
below:


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                                            /s/Teresa Bloodman




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